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                            EXHIBIT B
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 808. Do I need a specific license from OFAC to file a suit in U.S. court against a person
 designated or blocked pursuant to Venezuela-related sanctions? Does a U.S. court, or its
 personnel, need a specific license from OFAC to hear such a case?

 Answer

 No. A specific license from OFAC is not ordinarily required to initiate or continue U.S. legal
 proceedings against a person designated or blocked pursuant to OFAC’sthe Venezuela sanctions
 program,Sanctions Regulations, 31 CFR part 591 (VSR), or for a U.S. court, or its personnel, to
 hear such a case. Similarly, creditors may file for writs of attachment without the need for
 OFAC authorization for matters involving property blocked under the VSR.

 However, a specific license from OFAC is required for the entry into a settlement agreement, or
 for the enforcement of any lien, judgment, or other order through execution, garnishment, or
 other judicial process purporting to transfer or otherwise alter or affect property or interests in
 property blocked pursuant to the Venezuela Sanctions Regulations (31 C.F.R. Part 591). This
 includes the purported creation or perfection of any legal or equitable interests (including
 contingent or inchoate interests) in blocked property. While terminology may vary in different
 jurisdictions and proceedings, a specific license from OFAC would be required for measures
 such as:VSR.

 Taking Possession (Actual or Constructive)

 • Seizing

 • Levying Upon

 • Attaching

 • Encumbering

 • Pledging

 • Conveying

 • Selling (Final or Contingent)

 • Freezing

 • Assuming or Maintaining Custody

 • Sequestering

 For additional information, see 31 C.F.R.CFR §§ 591.309, 591.310, 591.407 and 591.506.

 With respect to the specific facts and circumstances in Crystallex Int’l Corp. v. Bolivarian
 Republic of Venezuela, 17-mc-00151, before the U.S. District Court for the District of Delaware,
 please see Frequently Asked Question (FAQ) 1123. For information on general licenses that
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 may authorize certain settlement negotiations involving persons designated or blocked pursuant
 to the VSR, please see OFAC FAQs 1124 and 1125.
